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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     PALM BEACH DIVISION
                                Case No.________________________

  RENAND BIENNESTIN, and other similarly              )
  situated individuals,                               )
                                                      )
                    Plaintiff(s),                     )
                                                      )
  v.                                                  )
                                                      )
  McDonald’s USA, LLC, an Illinois Company            )
  d/b/a Heisner Enterprises Partnership,              )
                                                      )
                     Defendant.                       )
                                                      )
                                                      )

                                        COMPLAINT
                            (OPT-IN PURSUANT TO 29 U.S.C § 216(B))

            Plaintiff RENAND BIENNESTIN (“Plaintiff”) and other similarly situated individuals

  sue defendant McDonald’s USA, LLC d/b/a Heisner Enterprises Partnership (“Defendant”) and

  allege:

            1.    This is an action to recover money damages for unpaid minimum wages and for

  retaliation under the laws of the United States. This Court has jurisdiction pursuant to the Fair

  Labor Standards Act, 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement) (“the Act”).

            2.    Plaintiff is a resident of Palm Beach County, Florida, within the jurisdiction of

  this Honorable Court. Plaintiff is a covered employee for purposes of the Act.

            3.    Defendant is a for profit company doing business in Palm Beach County with

  offices located at 2421 Okeechobee Blvd, West Palm Beach, FL 33401, Florida. Defendant’s

  headquarters are located at 2111 Mcdonalds Drive, Oak Brook, IL 60523-5500. At all times

  material hereto, Defendant was and is engaged in interstate commerce.


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                          COUNT I: WAGE AND HOUR FEDERAL (FLSA)
                                   STATUTORY VIOLATION

         4.      Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

  through 3 above as if set out in full herein.

         5.      This action is brought by Plaintiff, and those similarly situated, to recover from

  Defendant unpaid minimum wages, as well as an additional amount as liquidated damages, costs,

  and reasonable attorney’s fees under the provisions of 29 U.S.C. § 201 et seq.

         6.      Section 206(a)(1) states: “... an employer must pay a minimum wage of $5.15/hr

  to an employee who is engaged in commerce....” On July 24, 2007, Federal minimum wage was

  raised to $5.85/hr. On July 24, 2008, Federal minimum wage was raised to $6.55/hr. On July 24,

  2009, Federal minimum wage was raised to $7.25/hr.

         7.      The Act provides minimum standards that may be exceeded but cannot be waived

  or reduced. Employers must comply, for example, with any Federal, State or municipal laws,

  regulations or ordinances establishing a higher minimum wage or lower maximum workweek

  than those established under the Act. 29 C.F.R. § 541.4.

         8.      In Florida, the minimum wage in 2018 was $8.25 per hour.

         9.      Jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by Title 29

  U.S.C. § 216(b). Defendant is and, at all times pertinent to this complaint, was engaged in

  interstate commerce. At all times pertinent to this complaint, Defendant operated as an

  organization which sells and/or markets its services and/or goods to customers from throughout

  the United States and from outside of the United States, and also provides its services for goods

  sold and transported from across state lines of other states, and Defendant obtains and solicits

  funds from non-Florida sources, accepts funds from non-Florida sources, uses telephonic

  transmissions going over state lines to do their business, transmit funds outside the State of

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  Florida, and otherwise regularly engages in interstate commerce, particularly with respect to its

  employees and customers. Upon information and belief, the annual gross revenue of Defendant

  was at all times material hereto in excess of $500,000.00 per annum, and/or Plaintiff, and those

  similarly situated, by virtue of working in interstate commerce, otherwise satisfy the Act’s

  requirements.

           10.    By reason of the foregoing, Defendant is and was, during all times hereafter

  mentioned, an enterprise engaged in commerce or in the production of goods for commerce as

  defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s) and/or Plaintiff, and those

  similarly situated, were engaged in interstate commerce for Defendant. Defendant’s business

  activities involve those to which the Act applies. Defendant is a fast food restaurant and, through

  its business activity, affects interstate commerce. Plaintiff’s work for Defendant likewise affects

  interstate commerce. Plaintiff was employed by Defendant as a custodian/ maintenance worker.

           11.    While employed by Defendant, Plaintiff routinely worked 40 hours per week.

  Defendant never paid any moneys to Plaintiff; instead it paid Plaintiff with a non-sufficient funds

  check.

           12.    Plaintiff worked for Defendant for approximately 4 weeks in June-July of 2018.

           13.    Plaintiff was employed as a custodian, performing the same or similar duties as

  that of those other similarly situated custodians who worked for Defendant.

           14.    Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at

  the time of the filing of this complaint, Plaintiff’s good faith estimate of his unpaid wages is as

  follows:

                  a. Minimum Wages

                     $8.25 x 160 hours = $1,320



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                  b. Liquidated Damages: $1,320

                  c. Grand Total: $2,640

           15.    At all times material hereto, Defendant failed to comply with Title 29 U.S.C.

  §§ 201-219 in that Plaintiff, and those similarly situated, performed services for Defendant and

  did not get paid what they were owed, and in the case of Plaintiff, not even minimum wages.

           16.    The additional persons who may become Plaintiffs in this action are weekly-paid

  employees and/or former employees of Defendant who are and who were subject to the unlawful

  payroll practices and procedures of Defendant and were not properly paid minimum wages.

           17.    Defendant knew and/or showed reckless disregard for the provisions of the Act

  concerning the payment of minimum wages and remains owing Plaintiff, and those similarly

  situated, these minimum wages since the commencement of Plaintiff’s and those similarly

  situated employees’ employment with Defendant as set forth above, and Plaintiff, and those

  similarly situated, are entitled to recover double damages.

           18.    Defendant willfully and intentionally refused to pay Plaintiff minimum wages as

  required by the laws of the United States as set forth above and remains owing Plaintiff these

  minimum wages since the commencement of Plaintiff’s employment with Defendant as set forth

  above.

           19.    Plaintiff has retained the law offices of the undersigned attorney to represent him

  in this action and is obligated to pay a reasonable attorneys’ fee.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, and those similarly situated, request that this Honorable Court:

                  A. Enter judgment for Plaintiff, and others similarly situated, and against

                     Defendant on the basis of Defendant’s willful violations of the Fair Labor



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                     Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

                 B. Award Plaintiff actual damages in the amount shown to be due for unpaid

                     minimum wages, with interest; and

                 C. Award Plaintiff an equal amount in double damages/liquidated damages; and

                 D. Award Plaintiff reasonable attorneys’ fees and costs of suit; and

                 E. Grant such other and further relief as this Court deems equitable and just

                     and/or available pursuant to Federal Law.

           COUNT II: FEDERAL (FLSA) STATUTORY VIOLATION PURSUANT
                 TO 29 U.S.C. 215 (a)(3) RETALIATORY DISCHARGE

         20.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

  through 19 above as if set out in full herein.

         21.     Defendant willfully and intentionally refused to pay Plaintiff his legally owed

  wages as required by the laws of the United States and remains owing Plaintiff these wages as

  set forth above.

         22.     Section 206(a)(3) of the Act states that it shall be unlawful for any person “to

  discharge or in any manner discriminate against any employee because such employee has filed

  any complaint or instituted or caused to be instituted any proceeding under or related to this

  chapter, or has testified or is about to testify in such proceeding . . . .” (emphasis added)

         23.     On or about July 5, 2018, Plaintiff complained to Defendant that the check that he

  received had no funds.

         24.     In response, Defendant told Plaintiff to wait until his manager came back from

  vacation to get the issue of non-payment sorted out.

         25.     Plaintiff went back to Defendant on two different occasions to find out if he was

  going to get paid his minimum wages, to no avail.

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         26.     In the meantime, Plaintiff’s bank account began accumulating bank charges for

  not having sufficient funds. This was Defendant’s fault.

         27.     To date, Defendant has not paid Plaintiff what it owes him.

         28.     Because this multimillion-dollar Defendant would not pay Plaintiff his minimum

  wages for 4 compensable weeks, Plaintiff became humiliated and resigned.

         29.     Defendant constructively discharged Plaintiff.

         30.     The motivating factor, which caused Plaintiff’s constructive discharge as

  described above, was his demand or complaint seeking the payment of unpaid minimum wages

  from Defendant. Alternatively, Plaintiff would not have been constructively discharged but for

  his complaint about not getting paid his minimum wages.

         31.     Defendant’s constructive discharge of Plaintiff was in direct violation of

  29 U.S.C. § 215(a)(3) and, as a direct result, Plaintiff has been damaged.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff requests that this Honorable Court:

                 A. Enter a judgment against Defendant for all back wages from the date of

                     discharge to the present date and an equal amount of back wages as liquidated

                     damages, attorneys’ fees, costs, and;

                 B. Reinstatement and promotion and injunctive relief prohibiting Defendant from

                     discriminating in the manner described above, emotional distress and

                     humiliation, and pain and suffering, front wages, as well as other damages

                     recoverable by law under 29 U.S.C. § 216(b).

                                      JURY TRIAL DEMAND

         Plaintiff and others similarly situated request a trial by jury on all issues so triable.



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  Dated: June 3, 2019.

                                           By: ___/s/ R. Martin Saenz
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